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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION

     ELIZABETH SINES, et al.,
                                                        CASE NO. 3:17-cv-00072
                                    Plaintiffs,

                           v.                            ORDER

     JASON KESSLER, et al.,
                                                         JUDGE NORMAN K. MOON
                                  Defendants.


          Upon consideration of certain parties’ proposed integrated pretrial order, the Court states

   that it has resolved all outstanding motions identified therein as requiring a resolution, Dkt. 1258

   at 2-5, and the integrated pretrial order is hereby ADOPTED as to those parties.

          It is so ORDERED.

          The Clerk of Court is directed to send a copy of this Order to the parties.

          Entered this 2nd
                       ____ day of November, 2021.
